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                                                                                            FS

                                                                                      Apr 20, 2023

                                                                                              MIAMI
                           UM TED STA TES DISTRIC T C O UR T
                           SO U TH ER N D ISTR IC T O F FL O R ID A

                         CA SE N O .
                                       23- 20171-CR-SEITZ/REID
                                    18U.S.C.j371
  U NITED STA TE S O F A M EW CA



  AN DR EW CH OR LIAN ,

               D efendant.


                                       N ORM ATION
        TheUnited Stateschargesthat:

                                G EN ER AL A LLEG A TIO N S

        Atvadoustim esrelevantto thisInform ation:

               T he D efendant and R elevantIndividuals.E ntities,and Term s

               D efendantA N DR EW C H O RLIA N w asa residentofN ew Y ork,N ew Y ork.

               ANDR/W CHORLIAN wasaBlockchain EngineeratHydrogen Teclmology
 9om in oraroundN ovember2017 through in oraroundDecember2018.

               W CH AEL K AN E w as the co-fotm der and CEO of the Hydrogen Technology

 Corporation. Hy/ ogen Teclmology isapdvately-held Delawarecop oration c= ently based in

 M inm i,Florida, and previously based in N ew,N ew York. Hydrogen Teclmology's primary

 bush essbetween October2018 and April2019 involved an application programm ing interface

 (çGAPI'')solutionforitsclientsinthetinancialindustry.
               SHA N E HA M PTON w as the Chief of Financial Engineering at Hydrogen

 Teclm ology from in or around N ovem ber2017 through in or arotm d D ecem ber2022.
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                   TYLER OSTERN wasthe Presidentand CEO ofM oonwalkersTrading Lim ited

  ('çM oonwalkers'')from in oraroundJuly2018throughinorarotmdJanuary2020. M oonwalkers
  w as a South A frican entity thatm arketed itself as a provider of softw are-based tGm arket-m nking''

  servicesforcrypto assets.

            6.     GEORGE W OLVAARDT wasthe ChiefTeclmology OfficerofM oonwatkers.

                  The Gçblockchain''was a distributed public ledger that recorded incoming and

  outgoing crypto transactions.

                  GfBitcoin''w as atypeofcrypto asset.Bitcoin w ere generated and controlled through

 com putersoftwaze operating via a decentralized,peer-tompeernetwork. Bitcoin could beused for

 ptlrchasesorexchanged forothercrypto assetson exchanges. Bitcoin wascomm only known as

 BTC.

                  GGlFr
                      thereum ''w as a blockchain platform prem ised on Gtsm artcontracts,''w llich w ere

 com puterprogrnm s thatautom atically executed transactionsw hen certain conditionsw ere m et.
        .
            10.r .1iERC-20''was the technical standard for sm art contract tokens created on the

 Etherellm blockchain platform .

                  A çisecttrity''included awiderangeofinvestm entvehicles,including tGinvestment

 contracts.'' Investm ent contracts w ere instnlm ents, schem es, or transactions tluough w hich a

 person investedm oney in a comm on enterprise andreasonably expected profhsorreblrnsderived
              /
 f'
  röm theentreprenemialorm anagerialeflbrtsofothers.

            12.   A lçW ash Trade''w asa secudtiestransaction that,am ong otherthings,involved no

 change in beneficialownership ofthe sectu'ity exchanged becausethe snm e individualorexchange

 accotmtw asboth thesellerandbuyerin thetransaction.



                                                   -2-
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                     A lEspoofTrade''wasa secudtiestransaction that,nmong otherthings,included a

  buy orsellorderforasectlrity placedwithoutalegitimateintentto execute the orderasplaced or

  series of sectuities transactions creating acttzal or apparent active trading in a security for the
                 .




  purpose ofinducing othersto buy or sellsuch seclzrity.

         14.     In or arotmd Febnzary 2018, Hydrogen Technology created, or itm intedy''

  11,111,111,111 ERC-20 tokens (CûHYDRO''),which were investmentcontracts and therefore
  secmitiesasdefmedbytheSecuritiesandExchangeActof1934,15U.S.C.j78c(a)(10).
                 Exchange-l w as a cryptocurrency exchange that w as headquartered in Seattle,

  W ashington.

                                           C O UN T 1
            Conspiracy to C om m itW ire Fraud and M anipulation ofSecurity Prices
                                           (18U.S.C.j371)
                 B egilm ing in or around October 2018 and continuing through in or around

 December2018,in M inmi-Dade Cotmty,in the Southern DistrictofFlorida,and elsewhere,the

 defendant,

                                       A ND REW CH O R LIA N ,

  did willftzlly,thatis,with the intentto furtherthe objects ofthe conspiracy,and knowingly
  com bine, conspire, confederate, and agree w ith M ICH AEL KA N E, S                H A M PTON ,

  GEORGE W OLVM RDT,TYLER OSTERN,and others known and unlcnown to the United

  States,to com mitcertain offensesagainsttheUnited States,thatis:

                           to know ingly and with the intentto defraud,devise and intend to devise a

         schem e and artifice to defraud, and for obtaining m oney and property by m eans of

         m aterially false and fraudulentpretenses,representations,andpromises,knowing thatthe

         pretenses,representations,and prom iseswerefalseand fraudulentwhen made,and forthe
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        purpose of executing the schem e and m'tifice,did knowingly transmit and cause to be

       transmitted,by meansofwire communication in interstate and foreign com merce,certain

       w ritings,signs,signals,picttlres,and sollnds,in violation of Title 18,Urlited States Code,

        Section 1343;and

              b.     directly and indirectly, by use of the m ails and any means and

       instnzm entality of interstate comm erce, and of any facility of any national securities

       exchange and any m em ber of a national securities exchange, to w illfully and for the

       purpose of creating a false and m isleading appearance of active trading in any seclzrity

       otherthan a governmentsecurity,and a false and m isleading appearance with respectto

       themarketforsuchsectlrity,(A)effectanytransactioninsuchseclzritywhichinvolvesno
       change in the beneficialownership thereof,and (B)enteran order and ordersforthe
       purchase ofsuch sectzrity with theknowledgethatan orderand ordersofsubstantially the

       snm esize,atsubstantially the sametim e,and atsubstantially the snm eprice,forthe sale

       ofany such security,hasbeen and willbe entered by andforthesam eordifferentparties,

       and (C)enterany orderandordersforthe saleofany such security with thelcnowledge
       thatan orderand orders ofsubstantially the snm e size,atsubstantially the snm e tim e,and

       atsubstantially the same price,forthe ptlrchase of such sectlrity,has been and willbe

       enteredby andforthesnmeordifferentparties,inviolation ofTitle15,UnitedStatesCode,

      'Section 78i(a)(1);and
                     directly and indirectly, by use of the m ails and any m eans and

       instrum entality of interstate com m erce, and of any facility of any national sectuities

       exchange and any m emberofa nationalsectlritiesexchange,to willfully effect,alone or

       with one or m ore otherpersons,a series of transactions in any security registered on a
                                              -4-
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         national securitiesexchange, any security not so registered, and in colmection with

         any sectlritpbased       swap and security-based   swap   agreem entwith   respect to

         such security creating acttzalm181apparentactivetrading in such security,and raising and

         depressing the price ofsuch secudty,forthepup ose ofinducing the ptzrchase and sale of

         suchsecut'i'
                    tybyothers,inviolationofTitle15,UrlitedStatesCode,Section78i(a)(2).
                                      Purpose ofthe C onspiracv

                 lt was the purpose of the conspiracy for ANDREW CH ORLIAN and his co-

  conspiratorsto unlawfully erlrich them selves and Hydrogen Technology by intw ducing into the

 m arketm aterially false and m isleading infonnation aboutthesupply and dem and forHYDRO in

  order to fraudulently induce otherm arketparticipants to buy and sellHYDRO and artificially

 inflate the pdce of H YD RO so that CH O RL IA N and llis co-conspirators could sellH YD RO at

 artificially inflated prices.

                                 M anner and M eans ofthe C onspiracy

         The 'm anner and .m eans by which the defendant and llis couconspirators sought to

 accomplishthepurposeandobjectsoftheconspiracyincluded,amongothers,thefollowing:
         18.     GEORGE W OLVAARDT and TYLER OSTERN ,tllrough M oonwalkers,were

 retained by A N DR EW CH OR LIA N ,M ICH A EL K AN E, and SHA N E H A M PTON , through

 Hydrogen Technology,to sellHYDRO on the open m arketon Exchange-l. M ICHAEL ICANE

 maintained with Exchange-lan accotmtinllisnnme,whichtheco-conspiratorsagreed touse,and

 did use,to sellH YD RO .

         19.     To do so,GEORG E W OLVA AR DT,TY LER O STERN ,and others,designed and

 implem ented a trading strategy software application,or lGbot,''thatplaced autom ated orders on
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  Exchange-lin an efforttom anipulatethepriceofHYDRO and sellHYDRO atartificially inflated

  PTICCS.

                AN D R EW CH O RL IAN and llis co-conspiratorsagreed to use,and CH O RLIA N

  caused GEORGE W OLVM RDT and TYLER OSTERN to use,the botto place thousands of

  ordersto buy orsellHYDRO on Exchange-lthatCH ORLIAN and l'
                                                           lisco-conspiratorsknew at

  thetimewerenotplacedwith alegitim ateintenttobuy andsellHYDRO butwereintendedinstead

 to convey false and m isleading inform ation to otherm arketparticipantsaboutthe m arket'ssupply

  and dem and for H YD R O, deceive other m arket participants about the sam e,and fraudulently

 induceothermarketparticipantstobuy andsellHYDRO (collectively,GçspoofOrders'').
        21.     ANDREW CH ORLIAN and his co-conspirators aljo agreed to use, and

 CH O R IUIAN caused GEOR GE W OLV A ARD T and TYLER OSTERN to use,the botto execute

 atleast1,700 ordersforH YD R O thatinvolved no change in thebeneficialownership ofH D YR O

 because thebotwasexecuting orderswith itselfasboth thebuyerand sellerofHYDRO in pre-

 arrangedtransactionsthroughtheExchange-laccotmtinthenameofM ICHAEL KANE (çtW ash
 Trades'). LiketheSpoofOrders,CHORLIAN andllisco-conspiratorsknew atthetimethatthe
 W ash Trades w ere intended to convey false and m isleading inform ation to other m arket

 participantsaboutthem arket'ssupply and demandforHYDRO,deceivem arketparticipantsabout

 thevolllme oftransactionsin HYDRO,and fraudulently induceotherm arketparticipantsto buy

 and sellH Y DR O .

        22.     A N DR EW         C H O R LIAN   and      his co-conspiratozs   caused   OEOR GE

 W OLV AA RDT and TY LER O STERN to execute SpoofO rders and W ash Tradesto sellH D RO

 atartificially inflatedprices.


                                                 -
                                                     6-
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        23.    ANDREW CH ORLIAN,M ICHAEL KANE,and SHANE HA M PTON used a

 private Slack channelto com municatewith GEORGE W OLVAARDT and TYLER OSTERN in

 furtherance of the conspiracy. CH O RL IA N atld his co-conspirators exchanged m essages via

 interstate wires to coordinate the bot's execution of both the Spoof Orders and W ash Trades.

 OSTERN also routinely updated CH ORI,IAN,KANE,and SHANE HAM PTON via interstate

 wires aboutthe statusofthe bot'sm anipulation ofthepzice ofH YD RO on Exchange-l.

        24.   Forexmnple,on oraboutOctober21,2018,TYLER O STERN requested a callw ith

 M ICHAEL          to discussam e pulation strategy hewanted to employ:

              OSTERN :       Setthe botpretty aggressively now thatwe've gota little
                             m orecapitalto play with.

              KANE:          Fxchange-lqvolumeisgettingreally low,about$20M i1in
                             volllm e perday,w e are w orlcing to geton som e largerones

              OSTERN:        RightwellrExchange-zlisacmally highervolllme.
                             M ight push hard there to try and pick up som e of that
                             residualvolllm e.
                             Sellside is thin too

              KANE:          W eusedtohavealotofvolllmeon L'
                                                           Exchange-zj...itcomes
                             and goes

              O STERN :     Hop in a callquick M ike? H ave a tactic w e've used a few
                            tim esthatworks,I'd liketo explain abit
                            Basicallywe'regoingto insight(sic)aflresaletoshakethe
                            weakhands,and getthesellwallstom ovedown abitsowe
                            gain position thenpush pricehard.

              IQAN E:        Shane isowning tllis going forward,perhapsyou can chat
                            witihim tomorrow morning?heisintheoffice
              O STERN :      Sotm dsgood.letus lcnow w hattim e.

              KANE:          1etm echeckwithhim,probably arotmd 11AM EST aftera11
                             otlrm orzling m eetings
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                   HAM PTON: Yeah I'm not around (atthe momentj butwe can chat
                                  tom orrow

           25.     A s another exnm ple, on or arotm d O ctober 26, 2018, TYLER O STERN and

    M ICH AEL K A'
                 N E engaged in the follow ing exchange regarding the bot's m anipulation of

    H Y DR O :

                   OSTERN:        Did a little volume shennnnigans (sicq ..we're top 4 on
                                  gExchange-lj
                   OSTERN: Notsticldngmuchthough,everybodlisinthisforaquick
                                 profit.W e'11shake the w eak handsa b1tthen push again.

                   OSTERN: //1volumeon (Exchange-l)
                   KANE'
                       .          Yessaw that,lotsofvolume
                                 Itielpstoatlractotherexchanges,weget1-2aweeknow to
                                 reach out

                   OSTERN :      A rotm d half is fake, took about 3 seconds for bot to
                                 generated aboutam illion.

           26.    A ND R EW C H O R LIAN and llis co-conspirators also discussed how to influence
,
    othérinvestorsthrough socialm edia. Forexnmple,on oraboutOctober29,2018,thefollowing

    exchange took place via interstate w ires on the Slack chnnnel:

                  OSTERN: Ty and stresspeoplegettingintothetradechat1ldnd of
                                 bulld tnzstin thetrade chats and guide itup and dow n.Sm all
                                 detailbutwe have people putting up some pretty big sell
                                 wallswe need outofthe way ifwe wanttheprice to go up
                                 m uch.
                                 Otherw ise w e're stuck arotm d 65-70 sats
                                 Or w e can ntzke it and hope the w alls m ove down,then
                                 recirculate them higher in lligh volume tim es.Up to you
                                 guys.
                                 gsorry.option3,spendalittleintransactionsfeesandpump
                                 volumèagain forsomeatlention.q
                          TON : W e tl'y to notgetinvolved in any talks involving trading on
                                olzrtelegrnm or socialm edia
                                Spending som etxn feesisfine
                                                   -
                                                       8-
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                O STERN :      10-4
                               Can gI)talkpassitonifsomebodyisspeculatingin chat?
                CH O R LIA N :Y eah 1 don't think there is an issue w ith anyone else
                              directing people there

         27.    ANDREW CH ORI,IAN and his co-conspirators also used the Slack chnnnelto

  coordinate w hen to cash out profits earned on the sale of H YD RO while still ensuring enough

  HY DR O and Bitcoin rem ained in M ICH AEL K AN E'S accounton Exchange-l to facilitate their

  schem e to m anipulatethe price ofH Y DR O . The follow ing exchangesare illustrative:

                        On oraboutOctober31,2018:

                OSTERN: @ GeorgeCanwegetareload?
                CHORLIAN:Only@ M ikehasaccesstothe(Exchange-ljaccountonour
                               team

                O STERN :      Ahh 10-4.
                               W ell,weran outlastnight.So Ijustused theBTC tobuy
                               som em ore,and m adeyou guysanother5 BTC with it

                CHORLIAN:4
                               sadly m ike isn'tin the officeso willbe hard to getahold of
                               him .W illhavetom akestlrewehaveafew ofusw1111access
                               going forward
                               DoyouhavetheF xchange-ljdepositaddress?
                W OLV         T: That'snlright,wecanstillwork thepriceup sothatwhen
                              we do geta reload we'llhave plenty ofliquidity forbetter
                              prices.

                CH ORLIAN :Ican sendyou tokensfrom thetrezor

                        On or aboutD ecem ber 1,2018:

                OSTERN:        @ M ilceNeedtoreloadthewallet.
                               W ehave 112 BTC in theaccountaswell.
                               Ifyou'd bewilling,1think wecould setthefloorquiteabit
                               lligherifwepush.
                               (112notincludingwhat'sinbuybrdersnow)
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                 KA N E:       Y esyou can use m ore B TC ifyou w ant
                               letm e arrange m ore hydro in the w allets now
                               there is another 150 M i1pending in (Exchange-lj,should
                               clearin nexthour ortwo

                For m anipulating the price of HYDRO,ANDREW CH ORLIAN,M ICHAEL

  KANE,and SHANE HAM PTON caused HydrogenTeclmology topay GEORGE W OLVAARDT

  and TYLER O STERN in Bitcoin in exchange for GEOR GE W OLVM RD T and O STERN 'S

  effortstq m anipulatethe price ofH Y DR O .

                From in or around October2018 through in orarotm d D ecem ber2018,A N DR EW

  CH ORLIAN and his co-conspirators caused Hydrogen Technology to realize profits of

  approxim ately $1.3 million from the saleofHYDRO atartificially inflatedprices.
                                            O vertA cts

         In furthermlceoftheconspiracy and to accomplish itsllnlawfulpurposeand objects,at
  leastone ofthe co-conspiratorscom mitted mld caused to becom mitted,in the Southel'n District

' ofFloridaandelsewhere,atleastoneoi-the.followingovertacts,nmongothers:
                On or about O ctober 30,2018,AN D R EW CH O R I,IA N and his co-conspirators

  caused the botto place44 W ash Tradesviainterstate wire commlmicationsthrough thetrading

  accotmtinthenam eofM ICHAEL K ANE wheretheaccotmtboth boughtand sold with itselfand

  withnochangeinbeneficialownership approximately 189,817,141HYDRO with an approxim ate

  valueof$876,955.19.
                On or about O ctober 30,2018,A ND R EW CH O RL IA N and lzis co-conspirators

  caused the botto place a sellordervia interstate w ire com m llnicationsforapproxim ately 290,394

  HYDRO,valued atapproxim ately $1,341.62,which wasfilled by TraderA,who wasaresident
  ofthe Southem D istrictofFlorida.
                                                -   10-
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                 On or about October 31,2018,A NDQ EW CH R OLIAN sentvia interstate w ire

    com m unications a resupply of approxim ately 50 m illion HYD RO to a crypto wallet used by

   M oonwalkersto trade on Exchange-l.

          Al1in violation ofTitle 18,U nited StatesCode,Section 371.




                                                   By:                                      J
                                                           M ark y Lapoi
                                                           U nited StatesAttorney
                                                           Southern D istrictofFlorida


           GLEN N S.LEON                                  M ARKEN ZY LA POW TE
           CHW F,FR AU D SECTION                          UN ITED STATES ATTORN EY


    By: 4                                          By:                        '
           Andrew Jaco                                    ErlcE. orales
           TrialAttonzey                                  A ssistantUnited StatesAttom ey
           Fraud Section                                  Southem D istrictofFlorida
           U .S.D epartm entofJustice
  Case 1:23-cr-20171-PAS Document 1 Entered on FLSD Docket 04/20/2023 Page 12 of 14

                                      UN ITED STATES D ISTRICT C OU RT
                                      SOU TH ERN D ISTR ICT O F FLO RIDA

U NITED STATES O F AM EW CA                          CASE N O .:

V.
                                                     CER TIFICATE OF TRIAI,ATTO RNEY
ANDREW CHORLIAN,
                                         /           Superseding CaseInform ation:
                                                     New Defendantts)(YesorNo)
CourtDivision (selectone)                            Num berofN ew Defendants
      E81M iami     E-J.Key w est L FTP              Totalnum berofcounts
      EIFTL         L''W PB

ldo hereby certify that:
 1.     1have carefully considered the allegations oftheindictm ent,the numberofdefendants,the numberofprobable
        witnessesandthelejalcomylexitiesofthelndictment/lnformationattachedhereto.
        1am awarethatthelnformatlon supplied on thisstatem entwillbereliedupon by theJudgesofthisCourtin setling
        theircalendarsandschedulingcriminaltrialsunderthemandateoftheSpeedyTrialAct,Title28U.S.C.j3161.
        Interpreter:(YesorNo)No
        Listlanguage and/ordialect:

        Thiscasewilltake 0 daysforthepadiesto try.

        Please check appropriate category and type ofoffense listed below :
        (Checkonlyone)                      (Checkonlyone)
        I      I
               m 0to 5 days                  E1Petty
        11     L 6to 10 days                 EZ M inor
        III   IZI11to20 days                 E1M isdemeanor
        IV    E121to60 days                  EIFelony
        v     E161daysand over
                             '
        HasthiscasebeenpreviouslyGledinthisDistrictCourt?(YesorNo)NO
        lfyes,Judge                                  CaseN o.
        Hasacomplaintbeenfiledinthismatter?@ esorNo)No
        Ifyes,M agistrate CaseN o.                         '
 8. DoesthiscaserelatetoapreviouslyfiledmatterinthisDistrictCourt?(YesorNo)Yes
        Ifyes,Judge A ltonaga                        CaseN o.23-20165-CR
 9. Defendantts)infederalcustodyasof                                   '
 10. Defendantts)instatecustodyasof
 l1. Rule20 from the                   D istrictof
 12. lsthisapotentialdeathpenaltycase?(YesorNo)NO
 13. Doesthiscase originate from a m atterpending in the N orthern Region ofthe U .S.Attorney's Office
       priortoAugust8,2014(M ag.JudgeShaniekMaynard?(YesorNo)No
        Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .S.A ttorney'sOftsce
       priortoOctober3,2019(M ag.JudgeJaredStrauss?(YesorNo)No
 15. Did thism atterinvolvetheparticipation oforconsultation with now M agistrateJudgeEduardo 1.Sapchez
        duringhistenureattheU.S.Attorney'sOx ce,whichconcludedonJanuary22,2023?NO
                                                                       c

                                                     By:           1
                                                              ErlcE.M orales
                                                              AssistantUnited StatesAttorney
                                                              FL BarN o.     1010791
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                                N ITED STATE S D ISTR ICT CO UR T
'                              SO U TH ER N D ISTR IC T O F FLO R ID A

                                          PEN A LTY SH E ET

      D efendant'sN am e:                A N DR EW C H O RLIA N

      C aseN o:

      Count#: 1
      Title 18.U nited States CodesSection 371

      Conm k-
            acy to comm itwirefraud and securitiesfraud
      *M ax. Term ofIm prisonm ent:5 years
      * M andatory M in. Term ofImprisonment(ifapplicable):NIA
      W M ax. Supervised Release:3years '
      * M ax. Fine:$250,000tineortwicethegrossgainorgrosslossamount




       *Refersonly to possibleterm ofincarceration,supen r ised releaseand lines. Itdoesnotinclude
             restitution,specialassessm ents,paroleterm s,orforfeituresthatm ay beapplicable.
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A0455(Rev.01/09)WaiverofanIndictment

                               U NITED STATESD ISTRICT COURT
                                                     forthe
                                           Southern DistrictofFlorida

              United StatesofAmerica                   )
                          V.                           )     CaseNo. 23-20171-CR-SEITZ/REID
                                                       )
               ANDREW CHORLIAN,                        )
                    Depndant                           )
                                       W AIVER OF AN INDICTM ENT

      1understandthat1havebeen accused ofoneorm oreoffensespunishableby imprisomnentformorethan one
year.1wasadvised in open courtofmy rightsandthenatureoftheproposed chargesagainstme.

       Afterreceiving thisadvice,Iwaivemy rightto prosecution by indictm entand consentto prosecution by
information.



Date:
                                                                              De#ndant'
                                                                                      ssignature



                                                                         Si
                                                                          gnatureofde#ndant'
                                                                                           sattorney

                                                                        Printednameofdefendant'
                                                                                              sattorney


                                                                               Judge'ssignature
